              Case 3:17-cr-00093-WHA Document 681 Filed 06/06/22 Page 1 of 2




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11                                    UNITED STATES DISTRICT COURT
12                                  NORTHERN DISTRICT OF CALIFORNIA
13                                        SAN FRANCISCO DIVISION
14   UNITED STATES OF AMERICA,                           CASE NO. 17-CR-00093-WHA
15           Plaintiff,                                  [PROPOSED] IMMUNITY ORDER
16      v.                                               Pretrial Conf.: May 25, 2022
17   BURTE GUCCI RHODES,                                 Time:           12:00 p.m.
     a/k/a “Moeshawn,”
18                                                       Trial Date:     June 6, 2022
             Defendant.                                  Time:           7:30 a.m.
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21           On motion of STEPHANIE M. HINDS, United States Attorney for the Northern District of
22 California, the Court hereby finds and orders as follows:

23           1.      Marcus Etienne may be called to testify or provide other information before the court in
24 the trial of defendant Burte Gucci Rhodes in this matter; and

25           2.      In the judgment of the United States Attorney, Marcus Etienne has refused or is likely to
26 refuse to testify or provide other information on the basis of his Fifth Amendment privilege against self-

27 incrimination; and

28           3.      In the judgment of the United States Attorney, the testimony or other information to be
     ORDER RE: TESTIMONY
             Case 3:17-cr-00093-WHA Document 681 Filed 06/06/22 Page 2 of 2




 1 obtained from Marcus Etienne may be necessary to the public interest; and

 2          4.      The motion filed here has been made with approval of the designate of the Assistant

 3 Attorney General in charge of the Criminal Division of the Department of Justice, pursuant to the

 4 authority vested in her by 18 U.S.C. § 6003 and 28 C.F.R. 0.175;

 5          IT IS THEREFORE ORDERED pursuant to 18 U.S.C. § 6002 that Marcus Etienne shall testify

 6 under oath and provide other information which he refuses to give or provide on the basis of his Fifth

 7 Amendment privilege against self-incrimination, and shall do so as to all matters about which he may be

 8 interrogated before the grand jury or in any further proceedings resulting therefrom or ancillary thereto;

 9          IT IS FURTHER ORDERED that the testimony and other information compelled from Marcus

10 Etienne pursuant to this order, and any information directly or indirectly derived from such testimony or

11 other information may not be used against him in any criminal case, except a prosecution for perjury,

12 false declaration, or otherwise failing to comply with this order.

13          IT IS FURTHER ORDERED that this order shall become effective only if, after the date of this

14 order, Marcus Etienne refuses to testify or provide other information on the basis of his Fifth

15 Amendment privilege against self-incrimination.

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     DATED: June 6, 2022                                         ________________________
17                                                               WILLIAM ALSUP
                                                                 UNITED STATES DISTRICT JUDGE
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     ORDER RE: TESTIMONY
